         Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 1 of 7




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA


 AKIVA BINYAMIN JAKUBOWICZ, et al.,

                  Plaintiffs,

         v.                                               Civil Action No. 18-1450 (RDM)

 ISLAMIC REPUBLIC OF IRAN, et al.,

                  Defendants.


                                   MEMORANDUM OPINION

       This case arises out of terrorist attacks that took place in Israel between July 2006 and

October 2015. Dkt. 58 at 1. The operative complaint seeks damages pursuant to the state-

sponsored terrorism exception to the Foreign Sovereign Immunities Act (“FSIA”), 28 U.S.C.

§ 1605A(a), for seventeen plaintiffs. See Dkt. 57 at 3–5 (Am. Compl. ¶¶ 6–19). On August 9,

2022, the Court granted default judgment for two of those plaintiffs, Shachar Boteach and

D.A.B. (hereinafter “Plaintiffs”). Dkt. 58 at 3. Those two Plaintiffs raised claims for solatium

damages arising from the death of their grandfather, Richard Lakin, during a terrorist attack in

Jerusalem on October 13, 2015. Id. at 2; Dkt. 57 at 3 (Am. Compl. ¶ 4). Shachar Boteach and

D.A.B. were sufficiently close to Lakin to qualify as “functional equivalents” of immediate

members of his family for the purpose of recovering solatium damages. Id. at 16–18; see also

Oveissi v. Islamic Republic of Iran, 768 F. Supp. 16, 27 (D.D.C. 2011) (awarding solatium

damages to grandson whose interactions with his grandfather were “sufficiently frequent and of

such a nature as to render them equivalent to those interactions typical of a parent-child

relationship”).
         Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 2 of 7




       For assistance in evaluating Plaintiffs’ damages, the Court referred the case to a special

master, Deborah E. Greenspan, to prepare a report and recommendation regarding compensatory

damages. Dkt. 59. The Special Master’s report lays out the effects that the attacks had on each

of the victims and carefully analyzes their claims for damages under the framework for state-

sponsored terrorism cases. See generally Dkt. 62. The Special Master did not address punitive

damages. See Dkt. 59 at 1. The Court thanks the Special Master for her excellent assistance.

       For the reasons explained below, the Court will (1) adopt, with modifications, the Special

Master’s proposed findings and recommendations as to Plaintiffs’ compensatory damages;

(2) award punitive damages to Plaintiffs; and (3) award prejudgment interest on the

compensatory damages.

                                          I. ANALYSIS

       As an initial matter, the Court agrees with and adopts the Special Master’s findings of

fact as to Plaintiffs Shachar Boteach and D.A.B. See Dkt. 62 at 2–10.

A.     Compensatory Damages

       Shachar Boteach and D.A.B. seek solatium damages as the grandchildren of Richard

Lakin. Solatium damages are expressly provided for under 28 U.S.C. § 1605A(c) and are

intended to compensate for “the mental anguish, bereavement[,] and grief that those with a close

personal relationship to a decedent experience as the result of the decedent’s death, as well as the

harm caused by the loss of the decedent.” Belkin v. Islamic Republic of Iran, 667 F. Supp. 2d 8,

22 (D.D.C. 2009); see also 28 U.S.C. § 1605A(c). As the Court previously explained, Shachar

Boteach and D.A.B. are entitled to recover solatium damages because Lakin was the functional

equivalent of a parent to them. See Dkt. 58 at 16–18.




                                                 2
            Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 3 of 7




       1.       Solatium for Shachar Boteach

       Based on the uncontroverted evidence, the Special Master determined that Shachar

Boteach continues to suffer from psychological and emotional injuries related to the trauma of

her grandfather’s death. Dkt. 62 at 15–16. Shachar Boteach was present for the period in which

Lakin was hospitalized after the attack, where she witnessed him suffer from his injuries prior to

his death. Id. at 15; see also id. at 4. She was in high school at the time and comprehended the

trauma of the event. See id. at 3. Shachar Boteach now suffers from chronic anxiety and

emotional disorders, including Adjustment Disorder with anxiety symptoms and Persistent

Complex Bereavement Disorder. Id. at 9. Consistent with the framework laid out in Estate of

Heiser v. Islamic Republic of Iran, 466 F. Supp. 2d 229, 269 (D.D.C. 2006), the Special Master

recommended a baseline solatium damage award of $5 million, subject to a 25% enhancement

for a total award of $6,250,000. Id. at 15–16. In light of Shachar Boteach’s loss, the

psychological distress she continues to face, and her age at the time of the event, the Court

concurs with the Special Master’s recommended damages, including the enhancement.

       2.       Solatium for D.A.B.

       Based on the similarly uncontroverted evidence submitted for D.A.B., the Special Master

also recommended solatium damages of $5 million subject to a 25% enhancement. Dkt. 62 at

16. The Special Master concluded that D.A.B. is entitled to such an award because Lakin was a

central figure in his life equivalent to a parent and because the circumstances of Lakin’s death

caused him grief and trauma. Id. at 16. The Court here departs from the Special Master’s

recommendation only with respect to the enhancement. The Court notes that D.A.B. was eleven

years old at the time of the traumatic event, and, unlike Shachar Boteach, D.A.B., did not

personally witness Lakin’s suffering before his death. See id. at 5, 16. The Court, accordingly,



                                                 3
             Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 4 of 7




upholds the baseline solatium damage award of $5 million but does not include the 25%

enhancement.

B.      Punitive Damages

        Plaintiffs also seek punitive damages. Dkt. 57 at 30 (Am. Compl.). Punitive damages

“serve to punish and deter the actions for which they [are] awarded,” Valore v. Islamic Republic

of Iran, 700 F. Supp. 2d 52, 87 (D.D.C. 2010), and are expressly contemplated by the FSIA, see

28 U.S.C. § 1605A(c). Pursuant to the Court’s order, see Dkt. 59 at 1, the Special Master did not

consider an award of punitive damages. Based on the record before it and in light of the Court’s

holding on this question as applied to other plaintiffs in the same factual scenario, see Force v.

Islamic Republic of Iran, 617 F. Supp. 3d 20, 39–41 (D.D.C. 2022), the Court concludes that

Plaintiffs are entitled to punitive damages.

        To start, the Court is persuaded that Plaintiffs are entitled to punitive damages given that

“Iran provided Hamas . . . with significant support in the form of arms and financial assistance,

as well as training and technical expertise.” Force, 617 F. Supp. 3d at 39. Syria “similarly

provided the group ‘with a safe operational base from which to run [its] organization[],’” and

“[f]rom their bases in Syria, Hamas raised funds, trained operatives, smuggled arms, and

conducted their political and foreign relations activities.” Id. (first and second alterations in

original).

        In determining the amount of punitive damages to award, courts typically consider four

factors: “(1) the character of the defendants’ act, (2) the nature and extent of harm to the

plaintiffs that the defendants caused or intended to cause, (3) the need for deterrence, and (4) the

wealth of the defendants.” Fritz v. Islamic Republic of Iran, 324 F. Supp. 3d 54, 65 (D.D.C.

2018) (quoting Valore, 700 F. Supp. 2d at 87). As in Force, the Court finds that the first two



                                                  4
         Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 5 of 7




factors are satisfied: “Iran and Syria’s actions enabled Hamas to carry out lethal acts of terror as

part of a sustained effort to instill fear in the people of Israel.” Force, 617 F. Supp. 3d at 39.

The “need for deterrence,” factor three, is clear as both Iran and Syria have a longstanding policy

of material support for militant groups for the purpose of harming Americans. See id. at 40

(citing Hekmati v. Islamic Republic of Iran, 278 F. Supp. 3d 145, 166 (D.D.C. 2017)). Finally,

factor four is satisfied because both Iran and Syria are sovereigns that have “substantial wealth.”

See id. (quoting Colvin v. Syrian Arab Republic, 363 F. Supp. 3d 141, 163 (D.D.C. 2019)).

       The Court concludes that it is appropriate to calculate punitive damages by applying a

multiplier to the base amount (referred to as the “multiplicand”). See id.; Schwartz v. Islamic

Republic of Iran, No. 18-cv-1349, 2022 WL 1567358, at *4 (D.D.C. May 18, 2022). Reviewing

the circumstances of Lakin’s death, the Court previously determined that a multiplicand of two

was appropriate in light of the Iranian and Syrian states’ material support of terrorist

organizations engaging in violent acts, hostage-taking, and the “tragic and horrific” nature of the

acts. Force, 617 F. Supp. 3d at 41. Based on that finding and similar findings in other cases

regarding the actions of Iran and Syria, the Court finds a multiplicand of two is appropriate in

this case as well. See id.; Fritz, 324 F. Supp. 3d at 65; Hamen v. Islamic Republic of Iran, 407 F.

Supp. 3d 1, 11 (D.D.C. 2019). The Court will, accordingly, award Plaintiffs punitive damages in

an amount equal to two times their compensatory damages.

C.     Prejudgment Interest

       Plaintiffs have requested, Dkt. 57 at 30 (Am. Compl.), and the Special Master

recommends, Dkt. 62 at 17, that the Court award Plaintiffs prejudgment interest on their

compensatory damage awards. In Force v. Islamic Republic of Iran, 617 F. Supp. 3d 20, 42

(D.D.C. 2022), Fritz v. Islamic Republic of Iran, F. Supp. 3d 54, 64 (D.D.C. 2018), and Schwartz



                                                  5
         Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 6 of 7




v. Islamic Republic of Iran, No. 18-cv-1349, 2022 WL 1567358, at *5 (D.D.C. May 18, 2022),

the Court concluded that “prejudgment interest was appropriate on both ‘past economic loss’ and

on the ‘non-economic pain and suffering and solatium damages suffered by the victims’ estates

and families.’” Force, F. Supp. 3d at 42 (quoting Fritz, 324 F. Supp. 3d at 64); see also Sheikh v.

Republic of Sudan, 485 F. Supp. 3d 255, 274 (D.D.C. 2020); Ewan v. Islamic Republic of Iran,

466 F. Supp. 3d 236, 250 (D.D.C. 2020). The Court sees no reason to revisit that conclusion

here and will, accordingly, award prejudgment interest on Plaintiffs’ compensatory damages.

       To calculate prejudgment interest, “[t]he D.C. Circuit has explained that the prime rate—

the rate banks charge for short-term unsecured loans to creditworthy customers—is the most

appropriate measure of prejudgment interest.” Fritz, 324 F. Supp. 3d at 64 n.2; see also

Forman v. Korean Air Lines Co., 84 F.3d 446, 450–51 (D.C. Cir. 1996). Applying this rule, the

Special Master calculated prejudgment interest at the prime rate for each year from the date of

the incident. Dkt. 62 at 18–19. The Court adopts the Special Master’s methodology, as it has

done in prior cases using this same approach. See Fritz, 324 F. Supp. 3d at 64 n.2; Force, 617 F.

Supp. 3d at 42. The Court, however, updates the resulting prejudgment interest figures to

account for the time that has passed since the Special Master’s report was issued in September

2023 and to account for the Court’s decision not to apply the damages enhancement to D.A.B.’s

compensatory award. Extending the calculation used by the Special Master, see Dkt. 62 at 18–

19, yields a multiplier of 1.491.1 The Court, accordingly, concludes that Shachar Boteach is



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  The Court adjusts the 2023 prime rate to the final annual rate, applies the final 2023 prime rate
through all of 2023 instead of through August, and applies the present 2024 prime rate through
April 25, 2024. The rates applied are as follow:
       2015: 3.26 (applied from date of incident)
       2016: 3.51
       2017: 4.10
       2018: 4.91
                                                 6
         Case 1:18-cv-01450-RDM Document 65 Filed 04/25/24 Page 7 of 7




entitled to $3,068,750 in prejudgment interest and D.A.B. is entitled to $2,455,000 in

prejudgment interest. That yields a total compensatory award of $9,318,750 for Shachar Boteach

and a total compensatory award of $7,455,000 for D.A.B.

       Lastly, the Court considers whether it should apply its punitive-damages multiplier before

or after incorporating prejudgment interest into Plaintiffs’ compensatory damages awards. As

the Court explained in Schwartz, and again in Force, “the better approach is to apply the

punitive-damages multiplier after completing the prejudgment interest calculation because, in the

Court’s view, prejudgment interest is necessary to provide complete recompense for Plaintiffs’

compensatory damages, and because ‘the total compensatory damages already awarded’

provides the basis for Plaintiffs’ punitive damages.” Force, 617 F. Supp. 3d at 42 (emphasis in

original) (quoting Hamen, 407 F. Supp. 3d at 10); see also Schwartz, 2022 WL 1567358, at *6.

Most importantly, by proceeding in this manner, the Court can ensure that the punitive-damage

multiplier applies to the entire compensatory loss and that the happenstance of when judgment is

entered does not have a material effect on the ultimate value of the judgment.


                                        CONCLUSION

    The Court will enter a separate order awarding damages to Plaintiffs as described above.


                                                            /s/ Randolph D. Moss
                                                            RANDOLPH D. MOSS
                                                            United States District Judge

Date: April 25, 2024


       2019: 5.28
       2020: 3.54
       2021: 3.25
       2022: 4.86
       2023: 8.20
       2024: 8.50 (current rate)
                                                7
